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                   UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         SHERMAN DIVISION

         Timothy Jackson,

                               Plaintiff,

         v.

         Laura Wright, Milton B. Lee, Melisa
                                                    Case No. 4:21-cv-00033-ALM
         Denis, Mary Denny, Daniel Feehan,
         A.K. Mago, Carlos Munguia, and G.
         Brint Ryan, each in their official
         capacities as members of the Board of
         Regents for the University of North
         Texas System; Rachel Gain; Ellen
         Bakulina; Andrew Chung; Diego
         Cubero; Steven Friedson; Rebecca
         Dowd Geoffroy-Schwinden;
         Benjamin Graf; Frank Heidlberger;
         Bernardo Illari; Justin Lavacek;
         Peter Mondelli; Margaret Notley;
         April L. Prince; Cathy Ragland;
         Gillian Robertson; Hendrik Schulze;
         Vivek Virani; and Brian F. Wright,
         Defendants.



                    RESPONSE TO DEFENDANTS' MOTION TO STAY

       Plaintiff hereby opposes Defendants' Motion to Stay Discovery. ECF No. 18.

  I.   BACKGROUND

       Defendants' Motion to Stay Discovery repeats their sovereign immunity argument

from their Motion to Dismiss. ECF No. 8. Plaintiff therefore incorporates by reference the

factual background in his briefed opposition to that motion. ECF No. 16 at 1-10.

       The Court has already ordered the parties to convene their joint conference under

Fed. R. Civ. P. 26(f) no later than April 22, 2021 and ordered mandatory disclosures,

including disclosure of "all documents, electronically stored information, witness

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statements, and tangible things in the possession, custody, or control of the disclosing party

that are relevant to the claim or defense of any party." ECF No.14 at 4 (issued April 4,

2021). The Court also authorized "[e]arly Rule 34 requests" as well as depositions before

the Rule 16 management conference, "so that counsel are in a position to intelligently

discuss additional required discovery, and scheduling of the case." Id., at 4-5. This Order

followed Defendants' Motion to Dismiss filed weeks earlier. ECF No. 8 (filed March 15,

2021). It is therefore chiefly this Order that Defendant wish to undo.

 II.   ARGUMENT

       Although "[t]he Court 'has broad discretion and inherent power to stay discovery'

while a motion to dismiss is pending"; a stay "is not . . . automatically granted whenever a

motion to dismiss is pending." Sedillo v. Team Techs., Inc., Civil Action No. 3:20-CV-1628-D,

2020 U.S. Dist. LEXIS 164085, at *7 (N.D. Tex. Sep. 9, 2020) (quoting Reich Album &

Plunkett, L.L.C. v. Wheat, Opperman & Meeks, P.C., 2007 U.S. Dist. LEXIS 40400, 2007 WL

1655677, at *3 (E.D. La. June 4, 2007) and Stanissis v. Dyncorp Int'l LLC, 2014 U.S. Dist.

LEXIS 174296, 2014 WL 7183942, at *1 (N.D. Tex. Dec. 17, 2014)). Here, the Court has

already ordered discovery to proceed. ECF No. 8.

       Defendants reprise their argument on sovereign immunity raised in the Motion to

Dismiss. ECF No. at 16-19. They argue:

              sovereign immunity (or 11th Amendment immunity) is a jurisdictional bar

               that prevents discovery; and

              Plaintiff lacks standing due to unredressable injuries.




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ECF No. 18 at 3-5. In addition, Defendants seek to shield the Defamation Defendants from

discovery, although they present no legal authority for doing so. Defendants concede that

these parties can assert no sovereign immunity. Id. at 5.

       Defendants' sovereign-immunity objections are meritless. First, the State argues

that Professor Jackson does not seek prospective relief. Yet Professor Jackson seeks

prospective relief to enjoin an ongoing violation of his First Amendment rights. UNT

continues to censor him. See Complaint (ECF No. 1) at ¶ 76(ii) (asking the Court to “enjoin

the members of the Board of Regents, along with their employees and subordinates, from

taking any adverse action against Professor Jackson in response to the publication of the

symposium or his criticisms of Professor Ewell”).

       The relief Professor Jackson seeks therefore falls squarely within the Ex parte Young

exception to sovereign immunity. See Verizon Maryland, Inc. v. Public Service Comm’n of

Maryland, 535 U.S. 635, 645 (2002) (“In determining whether the doctrine of Ex parte

Young avoids an Eleventh Amendment bar to suit, a court need only conduct a

‘straightforward inquiry into whether [the] complaint alleges an ongoing violation of

federal law and seeks relief properly characterized as prospective.’” (citation omitted)); Raj

v. Louisiana State University, 714 F.3d 322, 328 (5th Cir. 2013) (“[T]he Eleventh

Amendment does not bar suits for injunctive or declaratory relief against individual state

officials acting in violation of federal law.”).

       The Defendants try to escape Ex parte Young by denying that the Board defendants

are “proper defendants.” Mot. to Dismiss (ECF No. 8) at 17; Motion to Stay (ECF No. 18 at

4). But an Ex parte Young lawsuit requires only that a defendant have “some connection”

with the enforcement of the challenged policy or practice, and the Board defendants easily


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meet this test. The Regents, acting in their official capacity, "possess[] the authority to

reinstate" Professor Jackson according to the relief requested, which Defendants cannot

dispute. Indeed, if Professor Jackson had not joined the Regents in their official capacity,

the State would no doubt argue for dismissal because he had failed to join them rather than

lower-level administrators. See Liu v. Tex. State Univ., No. A-18-CV-00938-LY, 2019 U.S.

Dist. LEXIS 136197, at *13 (W.D. Tex. Aug. 12, 2019) (dismissing claims for reinstatement

against individual non-board defendants of Texas state university in their official capacity

because none of the lower-level administrative defendants in that suit had the ultimate

authority to grant the relief sought); see also, Amawi v. Pflugerville Indep. Sch. Dist., 373 F.

Supp. 3d 717, 740 (W.D. Tex. 2019), vac. as moot on other grounds sub nom., Amawi v.

Paxton, 956 F.3d 816 (5th Cir. 2020) (defendants properly sued board defendants in their

official capacities in First Amendment suit to enjoin University of Houston and Texas A&M

University System, among other state schools, noting universities did "not contest that

sovereign immunity does not extend to the individual members of the Boards" and "suits

against the individual members of the Boards" properly fall within Ex parte Young

exception).

       The defendants complain that Professor Jackson “pleads no facts to show that the

Board Defendants have any role with the Journal or the Panel’s review and

recommendation, nor whether campus officials acted on those recommendations.” Id. at

17. But Professor Jackson is not required to make any “showing” of this sort. The Board of

Regents, as the governing authority of the university, by definition has “some connection”

to the retaliatory actions that Professor Jackson has alleged, because the Board of Regents

has the authority to oversee and countermand the decisions of university officials.


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       The situation is no different from a lawsuit challenging a public university’s

affirmative-action programs, which is properly brought against the individual regents even

when the challenged policies are made and implemented by lower-level university officials.

See Fisher v. Univ. of Tex. at Austin, 758 F.3d 633, 637 (5th Cir. 2014). The defendants do

not even acknowledge the “some connection” test from Ex parte Young, let alone explain

how the Board defendants fail to satisfy that standard.

       The defendants also claim that Professor Jackson fails to allege an “ongoing

violation” of federal law. They insist that he “alleges only past injuries.” ECF No. 18 at 4.

That is flatly wrong. Professor Jackson’s banishment from the Journal is an ongoing injury

that will continue absent relief from this Court. The initial decision to exclude Professor

Jackson from the Journal was made in the past, but the implementation of that decision will

continue indefinitely into the future unless the university changes its stance. That is all that

Professor Jackson needs to allege an “ongoing” violation of federal law. That the decisions

to exclude Professor Jackson were made in the past does not mean that his injuries are

confined exclusively to the past. The situation is no different from a President who decides

to exclude travelers from designated foreign countries from entering the United States.

The affected individuals still have standing to challenge the implementation of that past

decision and seek prospective relief against its enforcement, even though they are

challenging the legality of a past decision. See Trump v. Hawaii, 138 S. Ct. 2392, 2415–16

(2018).

       Professor Jackson alleges that the university is currently excluding him from the

Journal on account of his past criticisms of Philip Ewell. Again, this is all that is needed to

allege an ongoing violation of federal law. And it is also entirely proper for Professor


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Jackson to seek a prohibition against all “adverse actions” taken in response to his

criticisms of Philip Ewell; otherwise the university and its officials could evade an

injunction from this Court by retaliating against Professor Jackson in other ways.

          The defendants further claim that Professor Jackson “does not allege facts to show

any ongoing or future injury.” ECF No. 18 at 4. But that is transparently false. Paragraph

60 of the complaint states:

           On December 11, 2020—more than a week before the deadline that the
           provost had imposed—Dr. Benjamin Brand (Professor Jackson’s
           department chair) informed Professor Jackson that he would be removed
           from the Journal and that the university would eliminate resources
           previously provided to the Journal and Center for Shenkerian Studies.

Complaint (ECF No. 1) at ¶ 60. Professor Jackson’s “remov[al] from the Journal” and the

university’s intent to “eliminate resources previously provided to the Journal and Center

for Shenkerian Studies” describe ongoing and future injuries.

          Professor Jackson’s banishment from the Journal will continue into the future unless

it is enjoined by this Court, and the university will eliminate future resources for the

Journal and Center for Shenkerian Studies absent judicial intervention. All of these

allegations must be assumed true at this stage of the litigation. They indisputably describe

continuing and future injuries that confer standing to seek prospective relief. See

Manhattan Community Access Corp. v. Halleck, 139 S. Ct. 1921, 1927 (2019) (“Because this

case comes to us on a motion to dismiss, we accept the allegations in the complaint as

true”).

III.      CONCLUSION

          For the foregoing reasons, Defendants Motion to Stay Discovery should be denied.




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                                                  Respectfully submitted,

       DATE: April 26, 2021                       /s/Michael Thad Allen
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                                CERTIFICATE OF SERVICE

I hereby certify that on the date specified in the caption of this document, I electronically
filed the foregoing with the Clerk of Court, to be served on all parties of record via the
CM/ECF system.

                                                  /s/Michael Thad Allen
                                                  Michael Thad Allen




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